IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

TWIN CITY FIRE INSURANCE
COMPANY,

Plaintiff,
Vv.
KEY ENERGY SERVICES, INC.,

Defendant.

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Case Number 4:09-CV-00352

DEFENDANT KEY ENERGY SERVICES, INC”’S MOTION TO DISMISS PLAINTIFF'S
COMPLAINT OR, IN THE ALTERNATIVE, TO STAY ACTION, AND BRIEF IN

Lyle Rathwell

§.D. ID No. 11361

State Bar No. 16562500

RATHWELL DE FORD & WALLISON
25511 Budde Rd., Suite 601

The Woodlands, Texas 77380
Telephone: 281.296.8900

Facsimile: 281.296.6970

Attorney in Charge for Defendant Key
Energy Services, Inc.

Dated: March 12, 2009

PI-2146425 v1

SUPPORT

Of Counsel:

John M. Sylvester (pro hac vice admission pending)
PA I.D. No. 42479

Jeremy C. Smith (pro hac vice admission pending)
PA 1.D. No. 93417

K&L Gates LLP

PA Firm No. 148

Henry W. Oliver Building

535 Smithfield Street

Pittsburgh, PA 15222

Telephone: 412.355.6500

Facsimile: 412.355.6501
TABLE OF CONTENTS

Page

TABLE OF CONTENTS... ccc ccccsecscesececenseeseeneeneseaeeaeeaseevseceeseeesaeeecneesnecasersensessereeenessesertisssnensas i

TABLE OF AUTHORITIES 000... ccc cccesesecceneeceetereeneaneanereeneeceseaeseeeseeeasesesseneenssesisseesssanesasevacanerss ii

INDEX OF EXHIBITS 2... cceccssesscensesertescesteecssneeseereeseseessasusascessesecssseeseseasesseucasenseceneasensegsenes iv

1 INTRODUCTION occ ccceeccecececseenseeseneecneeenenseesenseseersassesereeseenessessedssesseaseusasnsesseuseasennegennen 1

Il. BACKGROUND woe cecccccceecsecseesseeeesereneeeesaceseteeseaessaeaasaeesensaseeteesracenevaereseareneersesesresseeseeses 2

A, The Twin City Policy and Other Relevant Insurance Policies oes 2

B. The Settlement of the Underlying Lawsuits ............c:ccessesecsereeeteseesesesseneeseennsesenas 3

C. Twin City’s Wrongful Dental of Coverage 00... ceeceeceesesneeseeeseeeneerenseererneenerey 4

D. Key Energy’s State Court Action and Twin City’s Federal Court Action ............. 5

HI. = «—§ ARGUMENT ou... cccccccsccsscercstecsesacesseeseseeesaceensncesaseeesacseasaecaeeeesnseceesnesneteeaseneaeseeanarseetaseatees 5
A. Legal Standard for A Federal Court’s Adjudication of a Declaratory Judgment

ACTION oe. eccccecsceecesceesseeeaeeeeeeeeeeceneceeeaeeceasenesesssecesseeeasenseeconessenesereseceeeseesesnesseasenea 5

B. This Court Is Without Authority to Issue Declaratory Relief... eee 6

C, The Court Should Exercise its Discretion to Dismiss or Stay this Action ............. 9

CONCLUSION... cccccsecseceeseeceesenesceesereessserseseeeesversareasereveneneeeneciiaiytesacieniasiseseistniasureseneesees 16

CERTIFICATE OF SERVICE
TABLE OF AUTHORITIES

Page
Federal Cases
131 Fed. Appx. 970, 972-73 (Sth Cir, 2005) ....ccccccesccsscesecsscessscsssssussscssecersereessevsetenens 11,14, 15
Brillhart v. Excess Insurance Co. of America, 316 U.S. 491 (1942)... cccccesssecsssseenssens 2, 6,9, 13
Clarendon Am, Ins. Co. v. Faulk & Foster Real Estate Servs., 2005 WL 1523332, at *2

(W.D., La. June 24, 2005)... i ccccccccecsssessscsscusccsceseesesneasceseseasesessvstisereessninetases 11, 15, 16
Crosley Corp. v. Westinghouse Elec. & Mfg. Co., 130 F.3d 474, 475 (3d Cir. 1942)... 8
Eastman Med. Prods., Inc. v. E.R. Squibb & Sons, Inc., 199 F. Supp. 2d 590, 395 (N.D.

TOX. 2002) ooo ececeessecsseessesssceseecsecersressuesnessasanaussstesssensessesseaeasessusccasscauesssesasyaeeseesensvstesness 8
Federal Ins. Co. v. Safeskin Corp., 1998 WL 832706, at *1 (S.D.N.Y. Nov. 25, 1998)... 12
Genentech, Inc. v. Eli Lilly & Co., 998 F.2d 931, 938 (Fed. Cir. 1993) o.oo eee eeceseseeseeseeees 8
Lateena Girls, LLC v. Latina Media Ventures, LLC, 2006 WL 2547884, at *4 (W.D. Tex

AUB. 9, 2006)... ceccecessccerscceseceutecssscsssseessseseaseessacesssscnassseeasscesessesenseversevensuraueestusersae 13,15
Little Giant Mfg. Co. v. Chromalox Indus. Heating Prods., 1996 WL 363026, at *8 (E.D.

Tex, June 26, 1996)... ccccceccscesseecsescssetssesecsessesssccsrcepesensecessevenaecessesansevsasectuseenetsusets 11, 13
Mission Ins, Co. v. Puritan Fashions Corp., 706 F.2d 599, 602 & n.3 (Sth Cir. 1983)... 12
Orix Credit Alliance, Inc. v. Wolfe, 212 F.3d 891, 895 (Sth Cir. 2000) ooo. ee cccccsceceetsereeees 5
Pa. Gen. Ins. Co. v. CaremarkPCS, 2005 WL 2041969, at *4-6 (N.D. Tex. Aug. 24,

ZOOS) oo seeeeeecesseeneseneecseeseeensecesesceeececeaersntessuseastsauessuasssesensescesecsusceuseseusssacssscauecisussseaueyeers 8, 12
Research In Motion, Ltd. v. Motorola, Inc., 2008 WL 5191922, at *2 (N.D. Tex. Dec. 11,

2008) oo ccccccccccecccseerseersnesrsueecsatecseessesssessasssssesseseesstesssessesecsetsssecessscccssersuseeneereneseneseaaeasas 7
RELI Ins. Co. v. Wainoco Oil & Gas Co. (RLH”), Civ. Action No. H-04-0553, at pp. 14-

16 (S.D. Tex. April 24, 2004) oo. ccceccsssescsssssssccossersesessevevsesevsesensessacecsasesaeeeneteereeans 11
Rowan Cos. v. Griffin, 876 F.2d 26, 27-28 (Sth Cir. 1989) occ cccccccsecsssesecsecssvsessasensesensssene 5,6
Royal Ins. Co. v. Quinn-L Capital Corp., 3 F.3d 877, 883-86 (Sth Cir. 1993)... cee 7
Sabre, Inc. v. Northwest Airlines, Inc., 2004 WL 2533867, at *3 (N.D. Tex. Nov. 8,

2004) eee iceccecceessecsssecesseessestersevsessesssesssessecseesseececsseseessessessaseusessussssssesssutenecseersvaeeversaevaseaevass 7
Samuels v. Mackell, 401 U.S. 66, 72 (1971) oc. cecccccccccsccessecsssssscescccaccassuseesassetesseensesesscaseusseerss 6,7
Scottsdale Ins. Co. v. Bayou Land & Marine, 1999 WL 777714, at *5 (E.D. La. Sept. 30,

1999) oe ceeccecsceessseeeeeeeneessseesssscnestecsssecasssessneesseecosteseuevsseeusussusssauitesuatsensersateesatsesatees 9, 13
Sherwin-Williams Co. v. Holmes County, 343 F.3d 383, 390 (5th Cir. 2003) wou cece 9
St. Paul Insurance Co. v. Trejo, 39 F.3d 585 (Sth Cir. 1994) oo ccccccssessseesssscnesereceeeees 10, 12
Star Ins. Co. v. New Orleans Jazz & Heritage Foundation, Inc., 1994 WL 148777, at *3

(E.D. La. Apr. 19, 1994) oo cecccscseessseessenecsesessecssseesceseccscrsrsveseveneseaseasestnsesenesennesenss 12
Sutter Corp. v. P & P Indus., Inc., 125 F.3d 914, 920 (Sth Cir, 1997) oe ccccceseseseseeserens 11, 12
Travelers Ins. Co. v. Louisiana Farm Bureau Fed'n, Inc., 996 F.2d 774, 776 (Sth Cir.

1993) voce seercecesseecesseneteessseneaseeeseeeseneneceesseessscoesasssesssassseeesssueseecassaressseasseseaseseesece passim
Trent v. Nat'l City Bank of Ind., 145 Fed. Appx. 896, 898 n.3 (5th Cir. 2005) (per curiam)......... 9
Wilton v. Seven Falls Co., 515 U.S, 277, 287 (1995) ...ccccccccseccsscescccsssssecsesssscsessesaverseeeateas 9, 10

Federal Statutes
28 ULS.C. § 2201 (a) eee ceccscccecssesseesssseasscsseccsssesseasscsscenssssuesseessacessuvausuecasscauversenseseaueneeetessancaneeses 9
Anti-Injunction Act (28 U.S.C. § 2283 o.oo cceeesseserscssenesecscecesscerseceeeecseeecseusustensaseceseceas 1,6,8
Declaratory Judgment Act (28 U.S.C. § 2201 oo ceccescssssssccesseseesesescecssseessssacsusssssssssscceceasseeeeensens 1

-ii-
State Rules
Federal Rules of Civil Procedure 12(D)(1).............cccccscsceseecsesnsecessceesseceeesersunseseeeecsaeterseaceessnnereres

- iii -
Exhibit A:

Exhibit B:

Exhibit C:

Exhibit D:

Exhibit E:

Exhibit F:

Exhibit G:

Exhibit H:

INDEX OF EXHIBITS

Twin City Policy

National Union Policy

RLI Policy

Key Energy’s Complaint in the State Court Action

Court’s Notice of Electronic Filing of Twin City’s Complaint

Trent v. Nat'l City Bank of Ind., 145 Fed. Appx. 896 (5th Cir. 2005)

RLI Ins. Co. v. Wainoco Oil & Gas Co. (“RLI HH”), 131 Fed, Appx. 970
(5th Cir. 2005)

RLI Ins. Co. v. Wainoco Oil & Gas Co. (“RLIP’), Civ. Action No. H-04-
0553 (S.D. Tex. April 24, 2004

-iv-
DEFENDANT KEY ENERGY SERVICES, INC.’S MOTION TO DISMISS PLAINTIFF'S
COMPLAINT OR, IN THE ALTERNATIVE, TO STAY ACTION, AND BRIEF IN
SUPPORT

Defendant, Key Energy Services, Inc. (“Key Energy’), by its undersigned counsel, files

the following Motion to Dismiss Plaintiff's Complaint or, in the Alternative, to Stay Action, and

Brief in Support thereof:

LF INTRODUCTION

Key Energy hereby moves the Court to dismiss Plaintiff Twin City Insurance Company’s
(“Twin City”) Complaint, or in the alternative, to stay this action pursuant to Federal Rules of
Civil Procedure 12(b)(i) and 12(b)(6), the Anti-Injunction Act (28 U.S.C. § 2283), and the
Declaratory Judgment Act (28 U.S.C. § 2201).

This action involves an insurance coverage dispute regarding the obligations of an excess
insurer, Twin City, to provide coverage to Key Energy for liabilities arising out of underlying
securities and shareholder derivative litigation. In light of Twin City’s wrongful denial of
coverage with respect to the underlying litigation, on February 9, 2009 at 12:03 a.m., Key
Energy commenced a state-court action against Twin City by filing its Petition for Declaratory
Judgment and Breach of Contract in the District Court of Midland County, Texas (the “State
Court Action”). On information and belief, more than eight hours after Key Energy filed the
State Court Action, Twin City filed its Complaint with this court at 8:16 a.m. on February 9,
2009. The State Court Action and this action present the identical, single issue: whether Twin
City may be excused from providing coverage otherwise owed for the liabilities arising out of
the underlying litigation above its policy’s attachment point simply because the underlying
insurer, RLI, settled its coverage obligation by paying $9 million of the $10 million limits of

lability of RLI’s policy. As Key Energy will demonstrate to the Court that resolves the merits of
this issue, Twin City should not be so excused because it is undisputed that its policy otherwise
applies to this loss and the applicable policy language and law dictate that Twin City honor its
coverage obligations.

In ruling upon Key Energy’s Motion, the Court should dismiss this action because the
Anti-Injunction Act bars Twin City’s claims against Key Energy, in light of Key Energy’s first-
filed State Court Action. Alternatively, the Court should exercise its discretion to dismiss or stay
this action pursuant to the holding of the Supreme Court of the United States in Bri/fhart v.
Excess Insurance Co. of America, 316 U.S. 491 (1942), because, inter alia, the choice of forum
of the insured and true plaintiff, Key Energy, is entitled to deference. Thus, the State Court
Action ts the proper forum to resolve the parties’ dispute, which is governed by Texas state law.

Il. BACKGROUND
A. The Twin City Policy and Other Relevant Insurance Policies

In exchange for substantial premiums, Twin City sold Policy No. DA014841803 to Key
Energy, providing directors and officers liability coverage for, among other things, securities and
shareholder derivative claims against Key Energy and the individual insureds, including Key
Energy’s directors and officers, arising out of wrongful acts allegedly committed by Key Energy
and the individual insureds, including Key Energy’s directors and officers, for the policy period
from August 23, 2003 to August 23, 2004 (“Twin City Policy”). See Exhibit A. The Twin City
Policy is a second-layer excess policy with $10 million limits of liability that attaches above the
lower-layer policies described below that were issued by two other insurers, National Union Fire
Insurance Company of Pittsburgh, Pa. (“National Union”) and RLI Insurance Company (“RL”).
National Union issued a primary Executive and Organization Liability Insurance Policy No. 343-
49-58 to Key Energy for the same policy period (“National Union Policy”), which attaches

above a self-insured retention. See Exhibit B. RLI issued a first-layer excess policy No.

-2-
EPG0002687 to Key Energy (*RLI Policy”), which attaches above the National Union Policy.
See Exhibit C.

B. The Settlement of the Underlying Lawsuits

Beginning in June 2004, Key Energy and certain of its officers and directors were named
as defendants in shareholder securities class-action lawsuits and shareholder derivative actions
brought in the United States District Court for the Western District of Texas and in Texas state
court in Midland County and Harris County (“Securities Class Action Lawsuits” and “Derivative
Actions,” respectively, which lawsuits are collectively referred to herein as the “Underlying
Lawsuits”). Key Energy entered into a settlement of the Securities Class Action Lawsuits' dated
November 16, 2007 and a settlement of the Derivative Actions’ dated November 20, 2007,
(collectively, “Settlements”)} for a combined sum of $16,625,000. The Settlements were entered
into with the full knowledge of Twin City, and Twin City did not object to the reasonableness of
Key Energy entering into these Settlements for the combined sum of $16,625,000. Final Court
approval of the Settlements was obtained on or about March 6, 2008 and the settlements were
then effectuated.

In connection with the Settlements, National Union paid the full $10 million limits of
liability of the National Union Policy without entering into any written agreement with Key

Energy in connection with such payment. (Before National Union had paid the full limits of

 

' Kaltman v. Key Energy Services, inc., et al., W.D. Tex., Civil Action No. MO-04-CV082; Lord y. Key
Energy Services, Inc., et al, W.D. Tex., Civil Action No. 7:04-00083; Navon v. Key Energy Services, Inc., et al.,
W.D. Tex., Civil Action No. 7:04-00090; Ortbals v. Key Energy Services, Inc., et al, W.D. Tex., 7:04-cv-00104;
Steward v. Key Energy Services, Inc., et al, W.D. Tex., Civil Action No. 7:04-cv-00158; Garco invesiments, LLP v.
Key Energy Services, Inc., et al,, W.D. Tex., Civil Action No. 7:04-cv-00159.

? In Re Key Energy Services, Inc. Derivative Litigation, W.D. Tex., Civil Action No. MO-05-CV-044;
Moonlight Investments, Ltd. v. John, et al., Cause No. 2004-CV-44728, 385th Judicial Dist. Midland County, Texas;
a purported shareholder derivative demand letter from Jeffrey P. Fink, Esq. of Robbins Umeda & Fink, LLP dated
January 22, 2007 (shareholder Sandra Weissman); and the derivative action captioned: Weissman v. Jolin, ef al,
Cause No. 2007-31254, 270th Judicial Dist. Harris County, Texas.

-3-
liability under the National Union Policy, Key Energy had borne the $1 million deductible
underlying that policy). Then, pursuant to a Settlement Agreement dated November 21, 2007,
between RLI and Key Energy, RLI agreed to pay $9 million, rather than the $10 million limits of
liability of the RLI Policy, to settle its coverage obligations for the Underlying Lawsuits.

C. Twin City’s Wrongful Denial of Coverage

Key Energy reserved its right to recover from Twin City any amounts expended in
defense and settlement of the Securities Class Action Lawsuits and Derivative Actions above the
attachment point of Twin City Policy, which attachment point is $20 million above the $1
million deductible. By letter dated June 4, 2008, counsel for Key Energy advised counsel! for
Twin City that Key Energy had incurred $5,289,424.56 in defense costs for the Underlying
Lawsuits such that the combined total of the settlement payments and defense costs was
$21,914,424.56, and Key Energy provided documentation supporting its claim for coverage.
Further, in this letter, counsel for Key Energy requested reimbursement from Twin City of
$914,424.56, which represents only that portion of the settlement payments and defense costs
above the attachment point of Twin City Policy. Key Energy had agreed to itself bear the $1
million difference between RLI’s $10 million policy limits and RLI’s $9 million settlement
payment.

By letters dated June 20, 2008 and July 31, 2008, counsel for Twin City denied that it had
any obligation to reimburse Key Energy for those amounts that exceed the attachment point of
Twin City Policy on the grounds that RLI had failed to pay the full amount of its limits of
liability. Twin City does not dispute that the Twin City Policy would otherwise provide
coverage if RLI had paid the full $10 million limits of liability of the RLI Policy. By letter dated
July 21, 2008, counsel for Key Energy set forth its position that Twin City’s denial of coverage

was unwarranted.
In August 2008, Key Energy initiated mediation in an attempt to resolve the parties’
dispute pursuant to the Alternative Dispute Resolution (“ADR”) provision in the National Union
Policy, which is incorporated by reference in the Twin City Policy. The mediation was
unsuccessful.

D. Key Energy’s State Court Action and Twin City’s Federal Court Action

In light of Twin City’s wrongful denial of coverage, on February 9, 2009 at 12:03 a.m.,
Key Energy commenced a state court action against Twin City by filing its Petition for
Declaratory Judgment and Breach of Contract in the District Court of Midland County, Texas
(the “State Court Action”). See Exhibit D. On information and belief, over eight hours after Key
Energy filed the State Court Action, Twin City filed its Complaint with this court at 8:16 a.m. on
February 9, 2009. See Exhibit E (the Court’s Notice of Electronic Filing). On March 2, 2009,
Twin City filed a Motion for Summary Judgment in this action. The State Court Action and this
action present the identical, single issue: whether Twin City may be excused from providing
coverage otherwise owed for the liabilities arising out of the Underlying Lawsuits above the
Twin City Policy’s attachment point simply because the underlying insurer, RLI, settled its

coverage obligation by paying $9 million of the $10 million limits of liability of the RLI Policy.

HI. ARGUMENT

A. Legal Standard for A Federal Court’s Adjudication of a Declaratory
Judgment Action

When considering whether to exercise jurisdiction over a declaratory judgment action, a
federal district court must engage in a three-step inquiry. Orix Credit Alliance, Inc. v. Wolfe, 212
F.3d 891, 895 (Sth Cir. 2000). First, The Court must first determine whether the declaratory
judgment action is justiciable, 7.e., whether ‘an actual controversy’ exists between the parties to

the action.” /d. (citing Rowan Cos. v. Griffin, 876 F.2d 26, 27-28 (Sth Cir. 1989)). Second, the
Court must determine whether it has authority to grant declaratory relief under the facts
presented. /d. (citing Travelers Ins. Co. v. Louisiana Farm Bureau Fed'n, Inc., 996 F.2d 774,
776 (Sth Cir. 1993)). Third, if it determines that it has the authority to grant declaratory relief,
the Court must consider how to exercise its broad discretion to decide or dismiss a declaratory
judgment action. /d. (citing Travelers, 996 F.2d at 778).

In this case, Key Energy does not contest that an actual controversy exists with Twin
City. Indeed, Key Energy has attempted to resolve this controversy by initiating the first-filed
State Court Action. In light of the pendency of the State Court Action, the Anti-Injunction Act
deprives this Court of authority to render declaratory relief in this action. Moreover, even
assuming arguendo that the Court were to determine that it has authority to issue declaratory
relief, which it does not, the Supreme Court's decision in Brillhart v. Excess Insurance Co. of
America, 316 U.S. 491 (1942), directs that the Court exercise its broad discretion to dismiss or
stay this case in favor of the State Court Action.

B. This Court Is Without Authority to Issue Declaratory Relief

The Anti-Injunction Act provides:

A court of the Untied States may not grant an injunction to stay

proceedings in a State court except as expressly authorized by Act

of Congress, or where necessary in aid of its jurisdiction, or to

protect or effectuate its judgments.
28 U.S.C. § 2283. Under well-established Fifth Circuit precedent, “when a state lawsuit is
pending, more often than not, issuing a declaratory judgment will be tantamount to issuing an
injunction - providing the declaratory plaintiff an end run around the requirements of the Anti-
Injunction Act.” Travelers, 996 F.2d at 776; see also Samuels v. Mackell, 401 U.S. 66, 72

(1971) ([OJrdinarily a declaratory judgment will result in precisely the same interference with

and disruption of state proceedings that the long-standing policy limiting injunctions was
designed to avoid,.”); Texas Employers’ Ins. Ass'n v. Jackson, 862 F.2d 491, 506 (Sth Cir. 1988)
(en banc) (holding that “{i]f an injunction would be barred by § 2283, this should also bar the
issuance of a declaratory judgment that would have the same effect as an injunction”), cert
denied, 490 U.S. 1035 (1989). Thus, a court cannot consider the merits of the declaratory
judgment action when:

(1) a declaratory defendant has previously filed a cause of
action in state court against the declaratory plaintiff;

(2) the state case involves the same issues as those involved in
the federal case; and

(3) the district court is prohibited from enjoining the state
proceedings under the Antt-Injunction Act, .e., none of the
exceptions to the Anti-Injunction Act apply.
Jackson, 862 F.2d at 506; see also Samuels, 401 U.S. at 73; Travelers, 996 F.2d at 776, Each of
these three elements is present in this case, mandating dismissal of Twin City’s claims against
Key Energy. To hold otherwise would be “antithetical to the noble principles of federalism and
comity.” Travelers, 996 F.2d at 776; Jackson, 862 F.2d at 505.

First, Key Energy filed the State Court Action over eight hours before Twin City filed

this action.’ Second, the State Court Action involves precisely the same issue presented in this

 

* Although not relevant in this case because Key Energy’s action was filed first, the Fifth Circuit has
subsequently held that this element is met even where the state court action was filed after the federal declaratory
judgment action unless the federal action was filed substantially before the state action and significant proceedings
have taken place in the federal action. See Royal Ins. Co. v. Quinn-L Capital Corp., 3 F.3d 877, 883-86 (35th Cir.
£993).

4 Any suggestion by Twin City that this element is lacking because the State Court Action and this action
were filed on the same day — February 9, 2009 — is meritless. It is well-established that the first-to-file rule applies
even when complaints are filed “almost simultaneously,” even where filed mere minutes apart. See, e.g., Research
In Motion, Ltd. v. Motorola, Inc., 2008 WL 3191922, at *2 (N.D. Tex. Dec. Fi, 2008) (recognizing that in granting a
motion to transfer, judge in second-filed action's “decision rested on the ‘first-filed’ rule, holding that, although
[defendant] filed its suit only minutes earlier than [plaintiff], the rule still applied”); Sabre, fac. v. Northwest
Airlines, Inc., 2004 WL 2533867, at *3 (N.D. Tex. Nov. 8, 2004) (rejecting defendant’s argument that where actions
were filed “almost simultaneously,” the first-to-file rule is inapplicable as “faulty” and “directly contrary” to Fifth
Circuit precedent and further holding that even small, insignificant differences in time between the filings do not
prevent the first-to-file rule from being controlling because it provides “clear answer to which action should be

-7-
action: whether Twin City may be excused from providing coverage otherwise owed for the
liabilities arising out of the Underlying Lawsuits above the Twin City Policy’s attachment point
simply because the underlying insurer, RLI, settled its coverage obligation by paying $9 million
of the $10 million limits of liability of the RLI Policy.

Third, the Anti-Injunction Act (the ““Act”) prohibits this Court from enjoining the state
court proceedings because none of the exceptions apply. Under the Act, a federal court “may not
grant an injunction to stay proceedings in a State court except as expressly authorized by Act of
Congress, or where necessary in aid of its jurisdiction, or to protect or effectuate its judgments.”
28 U.S.C, § 2283. There is no Act of Congress that authorizes an injunction of the State Court
Action, and an injunction is not necessary to aid this Court’s jurisdiction or to protect or
effectuate its judgments.° In sum, the Court has no authority to enjoin the State Court Action
and, thus, has no authority to grant declaratory relief in this case. See Jackson, 862 F.2d at 506;
see also Pa. Gen. Ins, Co. v. CaremarkPCS, 2005 WL 2041969, at *4-6 (N.D. Tex. Aug. 24,

2005) (holding that federal court action filed on the same day as insured’s state court action was

 

controlling in terms of venue”; actions filed 1 day apart); Eastman Med. Prods., inc. v. E.R. Squibb & Sons, Inc,
199 PF. Supp. 2d 590, 595 (N.D. Tex. 2002) (‘“[Defendant] tacitly argues that, because the two cases were filed
‘almost simultaneously,’ the ‘first to file’ rule is less important. The case law does not support this view.”) (further
holding that defendant failed to show that “exceptional circumstances” justified departure from the “first to file”
rule; 6-day difference in filing dates); see also Genentech, Inc. v. Eli Lilly & Co., 998 F.2d 931, 938 (Fed. Cir. 1993)
(applying first-to-file rule where first action was filed only | day before second action), abrogated in part on other
grounds by Wilton v, Seven Falls Co., 515 U.S. 277, 289 (1995) (standard of review for decisions granting or
denying declaratory judgment); Crosley Corp. v. Westinghouse Elec. & Mfg. Co., 130 F.3d 474, 475 (3d Cir. 1942)
(“Suffice it to say that we think [the principles underlying the first to file rule] just as valid when applied to the
situation where one suit precedes the other by a day as they are in a case where a year intervenes between the
suits.”’).

* Moreover, this action does not fall within the “very small class of highly distinguishable cases” that meet
the exception adopted by Travelers. 996 F.2d at 776-78. Unlike the insurer in Travelers, which filed its federal
action in an attempt to resolve nineteen suits pending in three different Louisiana state courts (in three different
appellate circuits) and potential future Mississippi state court suits consistently in a single forum, id. at 777 & n.8,
here Twin City does not face any such risk of a multiplicity of lawsuits in different forums. Moreover, while Twin
City has filed a premature motion for summary judgment, see note 10, infra, the parties have not engaged in any
discovery and this action clearly is not in an advanced stage of litigation, unlike in Travelers, where the parties had
actively engaged in litigation for two years and all but one of the insureds’ claims were resolved. /ed. at 775.
barred by Anti-Injunction Act and further dismissing action pursuant to Brillhart); Canal Indem.
Co, v, Wilburn Container X-Press, Inc., 907 F. Supp. 185, 188-91 (M.D. La. 1995) (dismissing
insurer’s declaratory judgment action under Anti-Injunction Act in light of insureds’ first-filed
coverage actions); Scottsdale Ins. Co. v. Bayou Land & Marine, 1999 WL 777714, at *5 (E.D.
La. Sept. 30, 1999) (holding that insurer’s declaratory judgment action was barred by the Anti-
Injunction Act even where filed after insured’s state court action). Thus, the Court should
dismiss this action against Key Energy in deference to the pending State Court Action.

C. The Court Should Exercise its Discretion to Dismiss or Stay this Action

Even assuming arguendo that the Court were to determine that the Anti-Injunction Act
does not bar this action, the Court should exercise its broad discretion to dismiss or stay this
action in favor of the State Court Action. Wilton v. Seven Falls Co., 515 U.S. 277, 287 (1995)
(“Since its inception, the Declaratory Judgment Act has been understood to confer on federal
courts unique and substantial discretion in deciding whether to declare the rights of litigants.”);
see also 28 U.S.C. § 2201 (a) (“In a case of actual controversy within its jurisdiction ... any court
of the United States, upon the filing of an appropriate pleading, may declare the rights and other
legal relations of any interested party seeking such declaration, whether or not further relief is or
could be sought.”).° As reaffirmed in Wilton, the discretionary standard adopted by the Supreme
Court in Brillhart vy. Excess Insurance Co. of America, 316 U.S. 491 (1942), governs this Court’s

decision whether to stay this declaratory judgment action in favor of the State Court Action. /d.’

 

° Sherwin-Williams Co. v. Holmes County, 343 F.3d 383, 390 (5th Cir. 2003) (“The Declaratory Judgment
Act, 28 U.S.C. § 2201 (a), is an enabling act, which confers discretion on the courts rather than an absolute right on a
litigant.) (quoting Public Serv. Comnt'n of Utah v. Wycoff Co., 344 U.S. 237, 241 (1952).

’ The Brillhart standard applies because, although Twin City has included a breach-of-contract claim
seeking “attorney fees, costs and other expenses in responding to Key Energy's initiation of the ADR process,”
Twin City’s Complaint, ] 17 at 5, this prayer for relief does not constitute coercive relief under Fifth Circuit
precedent. See, e.g., Trent v. Nat'l City Bank of Ind, 145 Fed. Appx. 896, 898 n.3 (5th Cir. 2005) (per curiam)
(holding that the Fifth Circuit has never held that a request solely for attorney’s fees and costs constitutes a request

_9-
Brillhart does not set forth an exhaustive list of factors, but provides guidance to the court in
exercising its discretion. Wilton, 515 U.S. at 282. Consistent with Brilfhart’s guidance, the Fifth
Circuit applies the factors set forth in St. Paul Insurance Co. v. Trejo, 39 F.3d 585 (5th Cir.
1994), when considering whether a district court should exercise its discretion to stay a
declaratory judgment action. See Sherwin-Williams, 343 F.3d at 390. These factors are as
follows:

(1) whether there is a pending state action in which all of the
matters in controversy may be fuily litigated;

(2) whether the plaintiff filed suit in anticipation of a lawsuit
filed by the defendant;

(3) whether the plaintiff engaged in forum shopping in
bringing the suit;

(4) whether possible inequities in allowing the declaratory
plaintiff to gain precedence in time or to change forum
exist;

(5) whether the federal court is a convenient forum for the
parties and witnesses;

(6) whether retaining the lawsuit would serve the purposes of
judicial economy; and

(7) whether the federal court is being called on to construe a
state judicial decree involving the same parties and entered
by the court before whom the parallel state suit between the
same parties is pending.

Trejo, 39 F.3d at 590-91. All of the factors that apply in this case weigh strongly in favor of

dismissing or staying this action in favor of the State Court Action.®

 

for coercive relief, declining to adopt such a rule, and recognizing that to “rule otherwise would essentially swallow
the entire Brilfhart doctrine since most complaints contain boiler plate requests for costs and attorney’s fees”),
attached hereto as Exhibit F.

* The seventh 7rejo factor does not apply because no state judicial decree is involved.

-10-
The first Zrejo factor weighs in favor of declining jurisdiction because all of the matters
in controversy may be fully litigated in the currently pending State Court Action. The State
Court Action involves the same parties and the same issue regarding coverage for the Underlying
Lawsuits that has been raised in this action. Sherwin-Williams, 343 F.3d at 393 (holding that the
extent of similarity between the federal and state court actions is a key factor militating against
exercising jurisdiction). Thus, the Texas state court will determine the rights and obligations of
Twin City and the Key Energy under the Twin City Policy. Indeed, the State Court Action is
more comprehensive because Key Energy also asserts a breach-of-contract claim, whereas Twin
City’s action effectively seeks only declaratory relief. For these reasons, the first factor clearly
favors abstention. See RL/ Ins. Co. v. Wainoco Oil & Gas Co. (“RLI II”), 131 Fed. Appx. 970,
972-73 (5th Cir. 2005)"; see also RLI Ins. Co. v. Wainoco Oil & Gas Co. (“RLI P’), Civ. Action
No. H-04-0553, at pp. 14-16 (S.D. Tex. April 24, 2004); Little Giant Mfz. Co. v. Chromalox
Indus. Heating Prods., 1996 WL 363026, at *8 (E.D. Tex. June 26, 1996); Clarendon Am. Ins.
Co. v. Faulk & Foster Real Estate Servs., 2005 WL 1523332, at *2 (W.D. La. June 24, 2005).

The second “anticipatory lawsuit” Trejo factor strongly weighs in favor of abstention.
Here, Twin City did not file its claims against Key Energy merely in anticipation of a lawsuit
filed by them, but rather Twin City filed its claims against Key Energy afier Key Energy sued
Twin City in the State Court Action. Thus, the State Court Action should be given precedence as
the first filed. See, e.g., Sutter Corp. v. P & P Indus., Inc., 125 F.3d 914, 920 (Sth Cir. 1997)
(holding in the context of two competing federal court actions that “[t]he ‘first to file rule’ not
only determines which court may decide the merits of substantially similar issues, but also

establishes which court may decide whether the second suit filed must be dismissed, stayed or

 

” Pursuant to Fifth Circuit Rule 47.5.4, a copy of this opinion is attached as Exhibit G. Also attached hereto
as Exhibit H is a copy of the District Court opinion in the case.

-11-
transferred and consolidated”); see also supra note 4 (collecting cases).

Pursuant to the third and fourth 7rejo factors, the Court should consider forum shopping
and “whether possible inequities in allowing the declaratory plaintiff to gain precedence in time
or to change forum exist.” Trejo, 39 F.3d at 590-91, With respect to third factor, as discussed
above, by seeking to litigate against Key Energy in this action instead of litigating in the prior
pending State Court Action, Twin City has effectively filed an anticipatory lawsuit, which is an
aspect of forum shopping. See, e.g., Mission Ins. Co. v. Puritan Fashions Corp., 706 F.2d 599,
602 & n.3 (Sth Cir. 1983) (holding that “anticipatory suits are disfavored because they are an
aspect of forum-shopping” and affirming the district court’s dismissal of an insurer’s declaratory
judgment action in favor of an insured’s state action).

Likewise, the fourth factor strongly favors abstention because it would be inequitable to
allow Twin City to defeat the first-filed rule and change Key Energy’s choice of forum. Key
Energy, as the insured, Is the true plaintiff in this dispute because it is the injured party that seeks
recovery of money from the other party that breached the contract between the parties. As such,
Key Energy’s choice of forum, rather than Twin City’s, is afforded deference, especially when
the insured’s chosen forum is the most appropriate one under the circumstances. See
CaremarkPCS, 2005 WL 2041969, at *6-7 (holding that insured, as putative plaintiff, should
have the privilege of selecting the forum to enforce its rights); Federal Ins. Co. v. Safeskin Corp.,
1998 WL 832706, at *1 (S.D.N.Y. Nov. 25, 1998) (holding that the insured is the “true” plaintiff
and that the insurers are the “true” defendants in an insurer’s declaratory judgment action); Star
Ins. Co. v. New Orleans Jazz & Heritage Foundation, Inc., 1994 WL 148777, at *3 (E.D. La.
Apr. 19, 1994) (holding that the insured is the “true plaintiff’ in a declaratory judgment action

initiated by an insurer); see also Lateena Girls, LLC v. Latina Media Ventures, LLC, 2006 WL

-12-
2547884, at *4 (W.D. Tex Aug. 9, 2006) (emphasizing “general policy that a party whose rights
are [apparently] being infringed should have the privilege of electing where to enforce its
rights”).

Here, because it 1s undisputed that Texas law governs, the State Court Action is the
proper forum to resolve the parties’ dispute, particularly because no Texas court has ever
addressed this issue. See, e.g., Brillhart, 316 U.S. at 495 (“Ordinarily it would be uneconomical
as well as vexatious for a federal court to proceed in a declaratory judgment suit where another
suit is pending in state court raising the same issues, not governed by federal law, between the
same parties. Gratuitous intervention with the orderly and comprehensive disposition of a state
court litigation should be avoided.”); Sherwin Williams, 343 F.3d at 390 (holding that if the
federal declaratory judgment action “raises only issues of state law and a state case involving the
same state law issues is pending, generally the state court should decide the case and the federal
court should exercise its discretion to dismiss the federal suit”); Little Giant, 1996 WL 363026,
at *8 (holding that federalism favors abstention where parties’ dispute involves insurance
coverage issues governed by state law); RLS, at p. 21 (holding that where the case involves
insurance coverage “issues [governed by] state law, there is no reason why this federal Court is
in a better position to decide this case than the state court”); Bayou, 1999 WL 777714, at *6
(holding that it is “well established that state courts have a particular interest” in deciding state
insurance law issues). Twin City’s attempt to turn on their head well-settled choice-of-forum
principles, which favor the true plaintiff's choice of forum, should be rejected. Travelers, 996
F.2d at 777 (holding that the court will not countenance a party filing a preemptive declaratory
judgment action to subvert the real plaintiff's choice of forum in state court).

The fifth 7reje factor weighs in favor of abstention because the federal court is not as

-13-
convenient for the parties and witnesses. As an initial matter, Key Energy and Twin City may
well ultimately agree that their dispute should be decided on summary judgment after a full
factual record has been developed such that a trial of this case would be unikely.'° Thus, the
relative convenience of witnesses to appear at trial and the availability of documents is less
important here. In any event, Twin City is an Indiana corporation, not a Texas Company, and its
principal offices are located in Indianapolis, Indiana and Hartford, Connecticut. None of their
witnesses and relevant documents are located in either Houston or Midland. Specifically, Twin
City’s primary witness responsible for handling Key Energy’s claim, James Palermini, Assistant
Vice-President and Claims Counsel at The Hartford (Twin City’s parent company) resides in
Chicago, Illinois. Thus, at a minimum, Midland, Texas is no less convenient a forum for Twin
City than Houston, Texas. Further, although Key Energy’s headquarters are currently located in
Houston, Twin City cannot attempt to rely upon the alleged convenience of Key Energy’s
witnesses as a factor favoring litigating in Houston because Key Energy desires to litigate this
dispute in Midland. Indeed, Midland is the most convenient forum because (1) the Underlying
Lawsuits were litigated in Midland, and (2) Key Energy’s headquarters and principal place of
business were located in Midland when the Twin City Policy was issued to Key Energy. Thus,
this factor favors dismissing or staying this action. See RL/ f/, 131 Fed. Appx. at 973; RLI I, at p.
20.

Lastly, the sixth 7rejo factor favors abstention because retaining this lawsuit would not
favor judicial economy. Based on the strictures of the Anti-Injunction Act, the State Court

Action cannot be enjoined. To allow this action to proceed as well would result in duplicative

 

'° While Key Energy believes that its dispute with Twin City can be decided on summary judgment with
the proper factual record, Twin City’s motion for summary judgment is premature, particularly in light of the fact
that Twin City filed its motion before Key Energy had even responded to Twin City’s complaint or had any
opportunity to conduct discovery to develop the factual record.

-14-
litigation with potentially inconsistent results. Travelers, 996 F.2d at 777 n.9 (“It is abundantly
clear that multiple lawsuits on the same issue can result in differing and conflicting decisions and
do result in a waste of judicial time and resources.”); Clarendon, 2005 WL 1523332, at *3
(holding that the possibility of inconsistent rulings on the coverage issues was key factor
favoring dismissal of insurer’s federal action). Moreover, because Texas law governs this
dispute, it would be more efficient for the Texas state court in Midland to render determinations
of state law, as opposed to compelling this Court to engage in an “Erie” guess on matters of
undecided state law. See RL/ I, at pp. 21; Lateena Girls, 2006 WL 2547884, at *5-6.

In sum, consideration of the Trejo factors strongly leads to the conclusion that this case
should be dismissed or stayed in favor of the first-filed State Court Action, where all issues that
are in controversy can be heard and resolved by a Texas state court applying Texas law. See RLI
77,131 Fed. Appx. at 970; see also RLI I, Lateena Girls, 2006 WL 2547884, at *1; Clarendon,

2005 WL 1523332, at *1.

-15-
CONCLUSION

For the foregoing reasons, the Court should dismiss Plaintiff's Complaint because the

claims therein are barred by the Anti-Injunction Act. [n the alternative, the Court should

exercise its discretion to dismiss or stay this action pursuant to Briflhart.

Of Counsel:

Respectfully submitted,

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Lyle Rathwell

S.D. ID No. 11361

State Bar No. 16562500

RATHWELL DE FORD & WALLISON
25511 Budde Rd., Suite 601

The Woodlands, Texas 77380
Telephone: 281.296.8900
Facsimile: 281.296.6970

Attorney in Charge for Defendant Key Energy
Services, Inc.

John M. Sylvester (pro hac vice admission pending)
PA ID. No. 42479

Jeremy C. Smith (pre hac vice admission pending)
PA I.D. No. 93417

K&L GATES LLP

PA Firm No. 148

Henry W., Oliver Building

535 Smithfield Street

Pittsburgh, PA 15222

Telephone: 412.355.6500

Facsimile: 412.355.6501

Dated: March 12, 2009

-16-
CERTIFICATE OF SERVICE

I certify that on this 12th day of March 2009, | electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
following:

Harvey G. Brown

WRIGHT BROWN & CLOSE LLP
Three Riverway, Suite 600
Houston, Texas 77056

I further certify that a true and correct copy of the foregoing was served on all other
counsel of record by e-mail on this the 12th day of March 2009.

Fie

Lyle Rathwell
